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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 BERNHARDT TIEDE, II;                                §
 TEXAS PRISONS COMMUNITY                             §
 ADVOCATES; BUILD UP, INC. a/k/a                     §
 LIONESS: JUSTICE IMPACTED WOMEN’S                   §
 ALLIANCE; COALITION FOR TEXANS                      §
 WITH DISABILITIES; TEXAS CITIZENS                   §
 UNITED FOR REHABILITATION OF                        §
 ERRANTS,                                            §
                                                     §     Civil Action No.: 1:23-cv-01004-RP
                  Plaintiffs,                        §
 v.                                                  §
                                                     §
 BRYAN COLLIER, in his official capacity as          §
 Executive Director of Texas Department of           §
 Criminal Justice,                                   §
                                                     §
                  Defendant.                         §

     PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE REGARDING
   DEFENDANT'S FAILURE TO NOTIFY THE COURT OF FALSIFIED EVIDENCE


                                     I.     INTRODUCTION

       During Defendant Bryan Collier’s direct examination at last summer’s preliminary

injunction hearing, his counsel introduced into evidence Defendant’s Exhibit 76—which

purported to list the outside air temperature, humidity, and heat index at the Mark W. Stiles Unit

in July 2022. Defendant’s Exhibit 76 indicated that (1) the temperature on July 12, 2022, stayed

at a consistent 79° from 12:30 a.m. to 4:30 p.m., and (2) the heat index that day never exceeded

85°.1 Mr. Collier’s counsel introduced the exhibit to rebut testimony from one of Plaintiffs’

witnesses that the heat index had reached 136° at the Stiles Unit that day.2



       1
           Def.’s Hearing Ex. 76; Hearing Tr. (Aug. 2, 2024) at 196:25-197:1.
       2
           Pls.’ Hearing Ex. 269 at 3; Hearing Tr. (Aug. 2, 2024) at 193:4-8, 196:23-197:1.


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       After consulting an authoritative source on the matter, the Court took judicial notice that

the temperature in Beaumont (where the Stiles Unit is located) actually reached a high of 96° that

day, contrary to the information contained in Defendant’s Exhibit 76.3 The Court also noted that

the entries on the July 12 log appeared to be in the same handwriting, despite having purportedly

been written by different people.4 Because of these discrepancies, the Court determined that the

temperature log for July 12, 2022 was “fabricated.”5 Mr. Collier’s counsel nevertheless

repeatedly insisted that the logs were nothing more than a “mistake”—not an intentional

fabrication.6 At the conclusion of the hearing, the Court ordered Mr. Collier to get to the bottom

of the issues with the log and report the results of that investigation to the Court.7 Mr. Collier

promised to do so.8

       Seven months have passed, and neither Mr. Collier nor his counsel have given the Court

any update about whether the logs were fabricated. Plaintiffs recently learned, however, that Mr.

Collier completed the Court-ordered investigation last fall and confirmed as early as September

20, 2024, exactly what the Court suspected: The July 12 temperature logs were “obviously and

clearly false,” and other logs from the Stiles Unit showed similar evidence of fabrication.9 That

investigation also revealed that the logs were fabricated in response to open records requests

during the summer of 2022 in order “to avoid reporting missing temperature logs” and likely




       3
           Hearing Tr. (Aug. 2, 2024) at 196:6-11, 276:25-277:8.
       4
           Def’s Hearing Ex. 76.
       5
           Hearing Tr. (Aug. 2, 2024) at 278:22-23.
       6
           Id. at 278:11-19.
       7
           Id. at 280:20-25, 283:6-9.
       8
           Id. at 287:3-10.
       9
           Ex. 1, Email from C. Cirrito to B. Collier (Sept. 20, 2024) at TIEDE_DEF0168374.


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with the “knowledge and/or consent of unit administrators.”10 Rather than produce the

investigative report as required by the Court’s order, however, Mr. Collier and his counsel did

nothing. They did not even bother to correct his counsel’s repeated false statements that that the

Stiles Unit employee simply “made a mistake this day.”11

       Instead, they sat on the report for four months until producing it to Plaintiffs on February

24, 2025, in response to Plaintiffs’ discovery requests. Even then—and even though Plaintiffs’

preliminary injunction motion is still pending and summer is fast approaching—Mr. Collier

chose not to file the report to correct the record or his attorney’s misrepresentations to the Court.

This is a clear violation of the Court’s order, and may also constitute a violation of Mr. Collier’s

counsel’s duty of candor. Rather than asking the Court to issue sanctions now, Plaintiffs request

that the Court issue an order to show cause as to why sanctions should not be issued and hold an

evidentiary hearing as to why Mr. Collier and his counsel never informed the Court of the results

of his investigation—in direct violation of the Court’s order. At that hearing, the Court can also

determine who is responsible for the non-disclosure, and whether any sanction is appropriate.

                                    II.    BACKGROUND

       A.        Mr. Collier’s Counsel Offers into Evidence Falsified Temperature Logs, and
                 the Court Orders Further Investigation of the Issue.

       On the fourth and final day of the preliminary injunction hearing, Mr. Collier attempted

to rebut earlier testimony that the heat index at the Stiles Unit had reached 136° on July 12,

2022.12 Mr. Collier attempted to rebut this evidence by introducing Defendant’s Exhibit 76—



       10
            Ex. 2, TDCJ Report at TIEDE_DEF0168226–27.
       11
            Hearing Tr. (Aug. 2, 2024) at 278:13, 18-19.
       12
         Compare Hearing Tr. (July 31, 2024) at 238:7-240:9 (Mr. Williams’ testimony
regarding the inmate grievance noting a heat index of 136°), with Hearing Tr. (Aug. 2, 2024) at
193:4-13 (Mr. Collier’s testimony attempting to rebut Mr. Williams’ testimony).


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which purported to list the outside air temperature, humidity, and heat index at the Stiles Unit in

July 2022.13 At Mr. Collier’s request, the Court admitted Defendant’s Exhibit 76 into evidence.14

Mr. Collier then testified that he did not see “anywhere on [Defendant’s Exhibit 76] that says

[the heat index was] 130 percent” at the Stiles Unit on July 12.15

       On Defendant’s Exhibit 76, the outside temperature on July 12 never exceeded 87°, and

the heat index never exceeded 85°16:




       13
            Hearing Tr. (Aug. 2, 2024) at 194:17-195:1; Def’s Hearing Ex. 76.
       14
            Hearing Tr. (Aug. 2, 2024) at 195:12-15.
       15
            Id. at 196:2-197:1.
       16
            Def.’s Hearing Ex. 76.


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       The Court immediately recognized there was “something wrong with this document.”17

As the Court later noted (after consulting a reliable source), the temperature in Beaumont that

day had reached 96°.18 Mr. Collier nevertheless insisted that he had no reason to believe that

TDCJ employees were falsifying temperature logs or misrepresent temperatures to the Texas

Legislature.19

       After Plaintiffs’ cross-examination, the Court returned to the issue of the outdoor

temperature logs, because it “want[ed] to talk to [Mr. Collier’s counsel] about whether this is any

indication of [] how records are kept” at TDCJ.20 The Court noted that, in addition to the

discrepancy between the recorded and actual temperatures, there were two other obvious issues

with the temperature log: (1) the heat index was sometimes recorded as less than the absolute

temperature, and (2) all of the entries were written in the same handwriting even though they had

purportedly been made by different people.21

       In response to the Court’s questioning, Mr. Collier’s counsel repeatedly insisted that the

document was simply “a mistake”—not an intentional fabrication22:

       Yes, your Honor. And I will represent that, unfortunately for me, this is a mistake.
       It looks like there was a mistake by the unit and I was attempting to impeach the
       grievance with what was actually reported to the l[o]g, which would be indoor

       17
            Hearing Tr. (Aug. 2, 2024) at 196:6-11.
       18
            Id. at 276:25-277:8.
       19
            Id. at 197:3-5, 198:11-15.
       20
            Id. at 275:8-276:10.
       21
          See id. at 277:9-19. The logs for several other days in Defendant’s Exhibit 76 have
similar discrepancies—including July 1 & 2, 2022 (“Wheeler” is in different handwriting,
despite purportedly being entered by the same person); July 6, 2022 (similar handwriting for
entries purportedly by different people); July 7, 2022 (similar handwriting and pen for entries
purportedly by different people); July 13, 2022 (similar handwriting and pen for entries
purportedly by different people); and July 14, 2022 (same).
       22
            Id. at 278:11-19 (emphasis added).



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          temps and that was in the report, I mistakenly thought that the logs were also indoor
          temperatures. They’re outdoor temperatures. And unfortunately for me, the
          attorney, it looks like the unit employee made a mistake this day.

          The Court disagreed, noting: “It’s not a mistake,” and it was instead “a fabricated

document.”23 And the Court expressed concern that the fabricated document had been used to

suggest one of Plaintiffs’ witnesses was not telling the truth.24 The Court ordered that “somebody

needs to look into this about how this happened, [and] why it happened.”25 And the Court said:

“I want to get to the bottom of this and I believe [Mr. Collier and his attorneys] probably do,

too.”26

          Plaintiffs requested a specific deadline for Mr. Collier to provide an explanation to the

Court regarding whether Defendant’s Exhibit 76 was fabricated.27 The Court denied that request,

noting that such a deadline was unnecessary, because the Court was confident Mr. Collier would

“get right on [it].”28 Mr. Collier’s counsel confirmed that he would do just that.29

          B.        Investigation Shows that the Temperature Logs Were, in Fact, Fabricated,
                    but Defendant Did Not Share the Results of that Investigation with the
                    Court.

          Despite assuring the Court and Plaintiffs that he would “get on it,” Mr. Collier never

informed the Court what occurred with Defendant’s Exhibit 76 or why. In the more than seven




          23
               Id. at 278:20-25.
          24
          Id. at 278:3-10, 278:20-279:2, 279:13-20. During this discussion, the Court incorrectly
assumed the temperature log had not been admitted into evidence by Mr. Collier—when, in fact,
it was. (Compare id. at 275:13-18, 279:18-20, with id. at 195:12-15.)
          25
               Id. at 280:15-18; see also id. at 283:4-9 (repeating same sentiment).
          26
               See id. at 280:20-25.
          27
               See id. at 287:3-6.
          28
               Id. at 287:7-8.
          29
               Id. at 287:3-10.


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months since the preliminary injunction hearing has concluded, Mr. Collier and his counsel have

remained silent. As a result, Plaintiffs served written discovery on January 24 2025, which

sought all materials related to Mr. Collier’s investigation. Mr. Collier responded to those requests

on February 24. Those responses revealed—for the first time—that Mr. Collier had ordered and

completed an investigation which confirmed the Court’s suspicions: The July 12, 2022 log on

Defendant’s Exhibit 76 was “falsified.”30

       Emails produced by Mr. Collier demonstrate that the investigation was started shortly

after the hearing concluded. By September 20, 2024 (seven weeks after the hearing), the

investigator informed Mr. Collier that the log was “obviously and clearly false.”31 Less than a

week later, the investigator noted he was “confident in [his] conclusion” and had a

“documentation trail, which is likely more than enough to satisfy the judge.”32

       The final report was dated November 8, 2024, and concluded that Defendant’s Exhibit 76

was, in fact, falsified—not to deceive this Court, but to deceive the public in response to open

records requests. Among the conclusions reached by the investigator33:

            Logs were falsified in response to an agency-wide effort to collect
             temperature logs in response to open records requests in the summer of
             202234;

            The July 12, 2022 log was falsified twice, by two different people, with one
             uploaded to a shared drive and the other maintained in the unit file35;




       30
            Ex. 2, TDCJ Report at TIEDE_DEF0168226.
       31
            Ex. 1, TIEDE_DEF168374.
       32
            Ex. 3, Email from B. Collier to C. Cirrito (Sept. 26, 2024) at TIEDE_DEF0169071.
       33
            Ex. 2, TDCJ Report at TIEDE_DEF0168225.
       34
            Id. at TIEDE_DEF0168226.
       35
            Id.


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            Shift rosters show that the officers who purportedly made the temperature
             entries on the July 12, 2022 were not assigned to positions in which they
             could have done so36;

            “Numerous” logs for other dates have indicators of falsification, including
             logs that showed temperature irregularities37; and

            It was likely that employees “recreated” missing logs with the knowledge or
             consent of their unit administrators. 38

       More than seven months passed since the Court expressed the need to “get to the bottom”

of the fabricated logs, and more than four months passed since Mr. Collier received the final

report demonstrating that the problem was not limited to the July 12, 2022 log. This forced

Plaintiffs to seek the results of the investigation in discovery.

       Yesterday afternoon, undersigned counsel conferred with counsel for Mr. Collier about

this Motion. In an attempt to preempt it, Mr. Collier filed an “Advisory to the Court” today. The

Advisory states that “the OAG did not construe the Court’s comment [at the preliminary

injunction hearing] as an order to produce the results of the investigation to the Court.” (ECF 199

at 2.) Tellingly, however, the Advisory says nothing about how Mr. Collier interpreted the

Court’s comments at the hearing, it says nothing about the email to Mr. Collier in which the

investigator confirmed that the purpose of the investigation was “to satisfy the judge”39 (i.e.,

comply with the Court’s order), and it says nothing about the remainder of the Court’s comments

during the hearing—which clearly establish that the Court ordered Mr. Collier to investigate the

fabricated temperature logs and inform the Court “how this happened, [and] why it happened.”40



       36
            Id.
       37
            Id.
       38
            Id.
       39
            Ex. 3, Email from B. Collier to C. Cirrito (Sept. 26, 2024) at TIEDE_DEF0169071.
       40
            Id. at 280:15-18; see also id. at 283:4-9 (repeating same sentiment).


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In fact, Mr. Collier still has not submitted the investigative report to the Court. And, while the

Advisory correctly notes that the “investigation revealed the outdoor temperature log was created

in 2022, before the initiation of this lawsuit,” rather than to deceive the Court (ECF 199 at 2), it

fails to mention the investigator’s key finding that the July 12, 2022 temperature log submitted to

the Court was “falsified”—not a mistake.41

       These omissions from the Advisory further underscore why an order to show cause (and

an evidentiary hearing) is necessary to determine (1) why Mr. Collier and his counsel did not

provide the investigative report to the Court (or otherwise apprise the Court of the investigation’s

findings), (2) who is responsible for this violation of the Court’s order, and (3) whether sanctions

are warranted.

                                     III.    ARGUMENT

       A.        Both Mr. Collier and his Counsel violated the Court’s Order by Failing to
                 Notify the Court of the Results of the Investigation.

       The Court’s order was clear: Mr. Collier must determine whether Defendant’s Exhibit 76

was falsified and provide an explanation to the Court. This was an enforceable order. See Am.

Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574, 578 (5th Cir. 2000) (to be enforceable, order

must be “definite and specific” but “need not anticipate every action to be taken in response to its

order, nor spell out in detail the means in which its order must be effectuated”). A party must

take “all the reasonable steps within their power to insure compliance with the orders.” Alberti v.

Klevenhagen, 610 F. Supp. 138, 141 (S.D. Tex. 1985). A party’s failure to do so can lead to a

finding of civil contempt. See Sec. & Exch. Comm'n v. First Fin. Grp. of Texas, Inc., 659 F.2d

660, 669 (5th Cir. 1981); Fed. R. Civ. Pro. 70(e); see also 18 U.S.C. § 401. “The contemptuous




       41
            Ex. 2, Ex. 2, TDCJ Report at TIEDE_DEF0168226.


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actions need not be willful,” so long as “the contemnor actually failed to comply with the court’s

order.” Am. Airlines, 228 F.3d at 581. The defendant’s intent, for good or ill, is simply “not an

element of civil contempt.” Alberti, 610 F. Supp. at 141 (citing McComb v. Jacksonville Paper

Co., 336 U.S. 187, 191 (1949). To be held in contempt, the offending party needs only to fail “to

accomplish what was ordered in meaningful respects.” Ruiz v. McCotter, 661 F. Supp. 112, 117

(S.D. Tex. 1986) (Justice, J.) (holding TDCJ’s predecessor agency in contempt).42

       Here, the Court made explicit its directive that Mr. Collier investigate the fabricated

temperature logs and inform the Court “how this happened, [and] why it happened.”43 The Court

then removed any doubt that it was expecting a prompt explanation, when it declined to set a

specific deadline “for the state to provide an explanation,” and instead confirmed that Mr. Collier

and his attorneys were “going to get right on that.”44 Mr. Collier’s post-hearing communications

with the investigator also confirm that the purpose of the investigation was “to satisfy the

judge”45—i.e., to comply with the Court’s order. Yet, seven months have passed, and no

explanation was provided to the Court. Mr. Collier and his counsel now stand in blatant violation

of the Court’s order.

       The Court’s order aside, Mr. Collier’s counsel also had an ethical obligation to correct the

record after she offered the falsified temperature logs into evidence. Texas attorneys owe a duty




       42
           The Court also has the power to “conduct an independent investigation in order to
determine whether it has been the victim of fraud.” Chambers v. NASCO, Inc., 501 U.S. 32, 44
(1991).
        43
           Hearing Tr. (Aug. 2, 2024) at 280:15-18 (“[S]omebody needs to look into this about
how this happened, why it happened . . . .”); id. at 280:20-25 (“I want to get to the bottom of this
and I believe you probably do, too.”).
       44
            Id. at 287:3-8.
       45
            Ex. 2, TIEDE_DEF0169071.


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of candor to the Court, so that it is not “misled by false statements.” In re Ethics Investigation of

Allegations Raised by UDF, No. 4:22-MC-01-O, 2023 WL 3327251, *24 (N.D. Tex. Feb. 6,

2023), report and recommendation adopted, No. 4:22-MC-01-O, 2023 WL 3322586 (N.D. Tex.

May 9, 2023) (citations and quotations omitted)). This duty did not end with the hearing. Mr.

Collier’s counsel was obligated to correct the record even if she only later learned of the

temperature log’s falsity. See Tex. Disciplinary Rule of Prof. Cond. 3.03 (requiring attorney who

learns of evidence’s falsity to make a good faith effort to persuade client to correct or withdraw

evidence and, if those efforts are unsuccessful, to take “reasonable remedial measures”); see also

Coleman v. United States, No. SA-16-CA-00817-DAE, 2017 WL 9360840, at *2 (W.D. Tex.

Aug. 16, 2017) (applying Disciplinary Rule 3.03 to proceedings in this District). She did not do

so, despite now knowing full-well (and for several months) that the July 12, 2022 log on

Defendant’s Exhibit 76 was fabricated.

       B.      TDCJ has a History of Falsifying Documents and Making
               Misrepresentations to Avoid Discovery of Dangerous Conditions.

       This is not an isolated incident for the TDCJ. In Cole v. Collier, Judge Ellison granted

Plaintiff’s motion for sanctions for TDCJ and Mr. Collier violating the terms of the settlement

agreement. See Cole v. Collier, No. 4:14-CV-1698, 2019 WL 6733002, at *2-3 (S.D. Tex. Dec.

11, 2019). Mr. Collier and TDCJ admitted to the Court “that they failed to maintain indoor heat

index temperatures below 88℉ in both the Stiles and LeBlanc Units, failed to notify Class

Counsel when temperatures exceeded 88℉, and transported class members on non-air-

conditioned buses on at least one occasion.” Id. at *3. And they admitted that they “previously

made several serious misrepresentations to both Class Counsel and this Court” about their

compliance with the settlement agreement. See id. Judge Ellison noted that the TDCJ and Mr.

Collier’s “failure to stymie these violations over two years after the Court’s initial preliminary



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injunction and over one year after the Court approved the settlement agreement is of particular

concern to the Court,” and their “promises that they will do better without intervention by this

Court fall flat.” Id. To investigate the severity and extent of the defendants’ misconduct, Judge

Ellison awarded additional discovery and attorney’s fees. See id. at *4. He determined that the

plaintiffs could “take up to five depositions of TDCJ officials of their choosing,” and “may also

serve written discovery requests” relating to violations of the settlement agreement and

Defendants “ensuing misrepresentations made to Class Counsel and th[e] Court.” Id.

       Evidence presented at the preliminary injunction hearing also demonstrated other, more

recent TDCJ practices that have almost certainly led to heat-related deaths being undercounted

and underreported:

            TDCJ does not consistently take the core body temperatures of deceased
             inmates found in high ambient temperatures, and it has no policy requiring
             temperatures be taken in those circumstances46;

            TDCJ only considers a death “heat-related” if the autopsy report lists
             hyperthermia as the sole cause of death47; and

            TDCJ often waits several days to perform autopsies, despite the standard of
             care requiring that an autopsy be performed within 48 hours of an individual’s
             death.48

       In addition, TDCJ reported to the Texas Legislature that only 17 TDCJ inmates

developed heat-related illnesses in all of 2023,49 while at least one report from UTMB identified




       46
          ECF 155, TDCJ 30(b)(6), 245:17-246:4. Notably, recently disclosed autopsies and death
investigations from the hundreds of people who died during last summer show that this critical
piece of information is still not being obtained.
       47
            Id. at 244:25-245:12.
       48
            Hearing Tr. (July 31, 2024) at 292:14-293:1.
       49
            Pls.’ Hearing Ex. 102 at 5.


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37 TDCJ inmates with heat-related illnesses in a single month (June 2023).50 Mr. Collier

acknowledged at the preliminary injunction hearing that he was aware of UTMB’s June 2023

heat-related illness report, but claimed (without further explanation) that the data UTMB

reported to TDCJ contained “significant inaccuracies.”51 When combined with the inaccurate

temperature logs, the discrepancies between TDCJ’s report to the Legislature and UTMB’s

report to the TDCJ, and TDCJ’s practices and policies governing autopsies present a clear

pattern of poor—and perhaps intentionally false—recordkeeping that raises significant questions

about the veracity and reliability of the other documents Mr. Collier presented at the hearing

regarding TDCJ’s compliance with its own heat-mitigation policies. And, as in the Cole case,

TDCJ’s attempts to prevent the “discovery of these dangerous conditions,” continues to put

inmates “lives in danger,” and has “serious consequences for individuals in TDCJ’s custody.”

2019 WL 6733002, at *2-3.

       C.        The Court Should Issue an Order to Show Cause and hold an Evidentiary
                 Hearing.

       By not providing the Court with the investigative report confirming that the July 12, 2022

temperature log in Defendant’s Exhibit 76 was falsified, Mr. Collier and his counsel violated the

Court’s order, and counsel may have breached her duty of candor to the Court. Either may

expose them to sanctions. See, e.g., Johnson v. Lumpkin, 76 F.4th 1037, 1038 (5th Cir. 2023)

(recognizing courts’ discretion to impose sanction for counsel’s lack of candor); Am. Airlines,

228 F.3d at 578 (contempt sanctions for violation of order). Yet on this record, it is not entirely




       50
            Pls.’ Hearing Exs. 84 & 85.
       51
            Hearing Tr. (Aug. 2, 2024) at 227:20-228:24.


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clear where the fault for the report’s non-disclosure lies, or why the report was never submitted

to the Court.

       Given these open questions, Plaintiffs are reluctant to ask the Court to issue a specific

sanction at this time. Instead, Plaintiffs request that the Court issue an order to show cause and

hold an evidentiary hearing to determine why the investigative report was not provided to the

Court (or the Court was not otherwise apprised of the results of the investigation), and who is

responsible for that nondisclosure.

                                      IV.   CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court issue an order to show

cause as to why Defendants and his counsel should not be sanctioned for failure to update the

Court on the results of their investigation into falsified temperature logs and to hold an

evidentiary hearing to determine why those results were not timely provided to the Court, and

who is responsible for the violation of this Court’s order.




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DATED: March 18, 2025                      Respectfully submitted,


                                           /s/ Kevin D. Homiak
Brandon Duke                               Thomas A. Olsen (admitted pro hac vice)
Texas Bar No. 24094476                     Kevin D. Homiak (admitted pro hac vice)
O’MELVENY & MYERS LLP                      Ellen R. Blatt (admitted pro hac vice)
700 Louisiana St., Suite 2900              WHEELER TRIGG O’DONNELL LLP
Houston, Texas 77002                       370 Seventeenth Street, Suite 4500
Telephone: (832) 254-1500                  Denver, Colorado 80202-5647
Facsimile: (832) 254-1501                  Telephone: 303.244.1800
Email:     bduke@omm.com                   Facsimile: 303.244.1879
                                           Email:         olsen@wtotrial.com
Jeff Edwards                                              homiak@wtotrial.com
Texas Bar No. 24014406                                    blatt@wtotrial.com
David Anthony James
Texas Bar No. 24092572                     Erica Grossman (admitted pro hac vice)
Lisa Snead                                 HOLLAND, HOLLAND EDWARDS & GROSSMAN,
Texas Bar No. 24062204                     LLC
Paul Samuel                                1437 High Street
Texas Bar No. 24124463                     Denver, Colorado 80218
Michael Singley                            Telephone: 303.860.1331
Texas Bar No. 794642                       Email:       erica@hheglaw.com
EDWARDS LAW
603 W. 17th Street                         Jodi Cole
Austin, Texas 78701                        Texas Bar No. 24045602
Telephone: 512.623.7727                    LAW OFFICE OF JODI COLE, PLLC
Facsimile: 512.623.7729                    203 East Murphy Street
Email:     jeff@edwards-law.com            Alpine, Texas 79830
           david@edwards-law.com           Telephone: 432.837.4266
           lisa@edwards-law.com            Facsimile: 512.692.2575
           paul@edwards-law.com            Email:       jcole@jodicole.com

                                Attorneys for Plaintiffs




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                          CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on March 18, 2025, I electronically filed the foregoing
PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE REGARDING
DEFENDANTS’ FAILURE TO NOTIFY THE COURT OF FALSIFIED EVIDENCE with
the Clerk of Court using the CM/ECF system which will send notification of such filing to all
counsel of record.

                                                /s/Kevin D. Homiak
                                                Kevin D. Homiak



                             CERTIFICATE OF CONFERRAL

      By my signature above, I certify that Plaintiffs’ counsel conferred with counsel for
Defendant by email on the afternoon of March 17, 2025, and Defendant’s counsel stated
Defendant opposes to the relief requested in this motion.

                                                /s/Kevin D. Homiak
                                                Kevin D. Homiak
